CALVERT CRARY AND GIFFORD B. CRARY, AS EXECUTORS OF THE LAST WILL AND TESTAMENT OF LOUISE B. CRARY, PETITIONERS, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Crary v. CommissionerDocket No. 18366.United States Board of Tax Appeals19 B.T.A. 634; 1930 BTA LEXIS 2358; April 21, 1930, Promulgated *2358  Deduction under section 403(a)(2), Revenue Act of 1921, for previously-taxed property should not be reduced by amounts deductible under subdivisions (1) and (3) merely because such items were paid out of previously-taxed property but did not exceed in amount the value of property not previously taxed.  Hepburn's Estate,11 B.T.A. 1386"&gt;11 B.T.A. 1386, followed.  Neil G. Harrison, Esq., for the petitioners.  L. S. Pendleton, Esq., for the respondent.  STERNHAGEN *634  The respondent determined a deficiency in estate tax of $8,978.22, by reducing the deduction under section 403(a)(2) of the Revenue Act of 1921 for prior-taxed property by the amount of deductions under section 403(a)(1) and (3) and paid from such prior-taxed property.  The case is submitted on the pleadings and a stipulation of facts.  FINDINGS OF FACT.  The petitioners are the executors of the will of Louise B. Crary, a resident of Binghamton, N.Y., who died testate on January 30, 1924.  Thomas B. Crary, her husband, died testate on December 3, 1920.  The gross estate of the petitioners' decedent included property which had been previously taxed at a value of $548,172.40 in*2359  the estate of Thomas B. Crary.  Administration expenses, debts, and charitable public bequests were paid amounting to $125,875.15.  These payments were made out of prior-taxed property.  The value of the independent property not previously taxed exceeded $125,875.15.  OPINION.  STERNHAGEN: The sole issue is whether the deduction under section 403(a)(2) of the Revenue Act of 1921 of the value of prior-taxed property, may be reduced by the amount of $125,875.15, representing items deductible under subdivisions (1) and (3), merely *635  because such items were in fact paid out of property which was identified as previously taxed, although they did not exceed in amount the value of the independent estate of the decedent.  From the presentation of the case on this issue alone, we assume that there is no other question such as that in . It is conceded by respondent's counsel that the Board's decision in , requires a negative answer, but, pending review of that decision, he insisted upon a reduction.  This case was submitted and has been held to await the decision of the Court of*2360  Appeals of the District of Columbia in the Hepburn case.  It now appears that, while pending in that court, the Hepburn case was disposed of by stipulation, thus leaving our opinion in full force.  In accordance therewith (and see , and ) the deduction for prior-taxed property should not be reduced by the amount of $125,875.15. Judgment will be entered under Rule 50.